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 4
     Attorney for Defendant
 5   FREDERIC JOSEPH MACIAS
 6

 7                             UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                 Cr. No. 2:06-cr-306-JAM
10   UNITED STATES OF AMERICA,
                                                 STIPULATION AND [PROPOSED]
11                Plaintiff,                     ORDER RE: EXONERATION OF
                                                 SECURED AND UNSECURED BAIL
12        vs.                                    FOR FORMER DEFENDANT FREDERIC
     FREDERIC JOSEPH MACIAS,                     JOSEPH MACIAS
13
                  Defendant.
14

15

16
           The United States of America, through its attorney of

17   record, Jason Hitt, and former defendant Frederic Joseph Macias
18   (Macias), through his attorney, Christopher Haydn-Myer, hereby
19
     agree and stipulate to the exoneration of the secured and
20
     unsecured bail for former defendant Macias.           The basis for this
21

22
     stipulation is as follows:

23         1. Macias appeared before Judge John A. Mendez on October
24             10, 2008, and he was sentenced. (Doc. 90).
25
           2. Mr. Macias did not file an appeal, and his time for
26
               filing an appeal has lapsed.
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     Macias’ Stip. Proposed Order
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           3. Counsel for Macias was recently contacted by Macias’
 1

 2             mother, Linda Macias, and informed that her residential

 3             property, located at 2615 Flemons Ave., Stockton, CA
 4
               95205, was still being used as secured collateral for
 5
               Macias’ release.
 6
           4. There is no need for the posted secured and unsecured
 7

 8             bail to remain in effect.

 9         Based on the foregoing, the undersigned parties agree and
10
     stipulate that the secured and unsecured bail on behalf of
11
     former defendant Macias be exonerated.
12

13   IT IS SO STIPULATED.
14
     DATED: August 3, 2016               PHILLIP A. TALBERT
15                                       Acting United States Attorney
16
                                         /s/ Jason Hitt
17                                       JASON HITT
                                         Assistant United States Attorney
18

19
     DATED: August 3, 2016               LAW OFFICE OF CHRISTOPHER HAYDN-
20                                       MYER
21                                       /s/ Christopher Haydn-Myer
22
                                         CHRISTOPHER HAYDN-MYER
                                         Attorney for Frederic Macias
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     Macias’ Stip. Proposed Order
             Case 2:06-cr-00306-JAM Document 134 Filed 08/16/16 Page 3 of 3



 1                                       ORDER
 2
           GOOD CAUSE APPEARING and based on the foregoing
 3

 4   stipulation, it is hereby ordered that the secured and unsecured

 5   bail posted on behalf of former defendant Frederick Macias is
 6
     hereby exonerated.
 7
     IT IS SO ORDERED.
 8

 9   DATED: August 16, 2016
10
                                         ______________________________
11
                                         EDMUND F. BRENNAN
12                                       UNITED STATES MAGISTRATE JUDGE

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     Macias’ Stip. Proposed Order
